                         EXHIBIT B

             May 2021 FSO1 Investment Presentation




16228139/2
    File Storage
     Ops 1 LLC

Filecoin Storage Facility




       May 2021
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Unique Characteristics
• Filecoin (“FIL”) mined for less than $9 each, current market price $148 (May 9th, 2021)
• Borrowing and repaying in FIL, improves investor return while reducing risk
   FIL                                                                                                     US $
4,500,000                                                                                               700,000,000
4,000,000
                                                                                                        600,000,000
3,500,000
                                                                                                        500,000,000
3,000,000                                 Investors
2,500,000                                  repaid                                           Investors   400,000,000
                                                                                          receive 20%
2,000,000                                                                                               300,000,000
1,500,000
                                                                                                        200,000,000
1,000,000
                                                                                                        100,000,000
 500,000
       -                                                                                                -
            1                366                         731                   1096
                             FIL Earned     FIL Staked     FIL Borrowed   Net USD Value

                                                                                                                  3
Filecoin Storage Facility Investment Opportunity
                                                             File Storage Ops 1, LLC
• Capacity to develop approx. 138,000 Tebibyte (“TiB”) of FIL storage over the next four years
• Borrow approx. $30m of FIL, interest and repayment in FIL
• Raising $7m in File Storage Ops 1 to fund the purchase of storage for the operation
• Estimated cash flow positive after 18-months
• Repayment of initial capital contribution expected within 24-months*
• First repayment from free cash flow and 20% of future free cash flows after repayment


                              The Investment                                                The Estimated Economics
• Investment:                    $7,000,000                                                            Terminal Value Multiple
• FCF Share %:                   20% of File Storage Ops 1                                       5x            10x                15x
                                                                                    $67**        91%          107%               119%




                                                                          FIL USD
                                                                                    $100        110%          127%               139%
                                                                                    $150        132%          149%               162%


* Requires FIL price above USD 40
** USD 67 is the average FIL price over last six months
                                                                                                                                        4
Introduction
                              Project Economics                                                     What is Filecoin?*
                                                                                     • Peer-to-peer storage network
                                                                                     • Built-in economic incentives
                                                                                     • Users pay to store their files
                                                                                     • Storage miners are responsible for storing
                                                   $30m of FIL
                                                   borrowed and                      • Available storage, and the price of that
             Storage:                              repaid                              storage, is not controlled by any single
             $6m
                                                                                       company
                                                                                     • FIL facilitates open markets for storing and
                                                        Reward: $60m to                retrieving files that anyone can participate in
                  Factory:                              Investors first four
                  $2m                                   years



                 Source: https://docs.filecoin.io/about-filecoin/what-is-filecoin/




*For more information on Filecoin see: https://docs.filecoin.io/
                                                                                                                                         5
Filecoin
• FIL was launched in 2017                                      FIL price (Weekly - 21 April 2019 – 9 May 2021 )
• Ranks # 19 in terms of market cap               USD
                                                  200
• FIL stores data in a decentralized manner
                                                  180
• Allows users to be custodians of own data
• FIL incentivizes participants to act honestly
                                                  160


  and store as much data as possible via          140

  issuance of block rewards                       120
• FIL price May 9th, 2021: USD 148
                                                  100


                                                   80


                                                   60


                                                   40


                                                   20


                                                   0
                                                  21-Apr-19   21-Aug-19   21-Dec-19   21-Apr-20   21-Aug-20   21-Dec-20   21-Apr-21

                                                                               Source: CoinGecko.com
                                                                                                                               6
File Storage Ops 1, LLC
• Developing a FIL storage mining facility in Nebraska                   File Storage
                                                                        Partners, LLC
• FIL community seeking more North American based facilities
                                                                          (Operator)
    • Most existing miners based in China
• Weekly expansion of storage by 665 TiB requires FIL 7,980
• Borrowing $30 million of FIL
   • Both interest and repayment in FIL                                 File Storage
                                                                         Ops 1, LLC
• Raising $7m to purchase storage
• Operator charges a 20% fee                                                     20%

• Investor will receive:
    • Initial capital contribution repaid first from free cash flow
                                                                      External Investors
    • 20% of future free cash flow thereafter




                                                                                           7
Economics of Filecoin Storage Facility
• Five providers controlling nearly 77% of the cloud storage market

• FIL allows for an open storage economy where independent actors can compete and innovate
         • Data storage using FIL network about 90% cheaper than comparable storage on AWS

• Actors are incentivized to cooperate and compete to maximize the utility of the network

• The FIL protocol pushes participants towards behavior that is beneficial for the network

• Storage miners become eligible for rewards which are paid in proportion to the amount of
  storage they provide to the network
         • Storage miners can also earn additional rewards through storage deals directly with clients
           through Filecoin Plus




*Source: https://docs.filecoin.io/blog/posts/filecoin-network-economics/
                                                                                                         8
Estimated Economics
• Estimated cash flow generated by File Storage Ops 1 based on the rewards linked to the
  amount of storage provided to the FIL network
       • Does not take into consideration potential rewards connected to storage deals through
         Filecoin Plus
                       Estimated @ USD 67*                                                                        Estimated @ USD 150**
Million             Initial      Yr 1       Yr 2          Yr 3     Yr 4         TV               Million          Initial   Yr 1    Yr 2   Yr 3   Yr 4    TV
Investor CF $ (7.0)                -       $ 8.2        $ 8.1      $ 13.1 $ 130.6                Investor CF $ (7.0)         -     $ 12.0 $ 18.6 $ 29.7 $ 297.3

IRR:                107%                                                                         IRR:              149%
Return:              23x                                                                         Return:            51x

                                                                                      IRR Matrix
                                                                                        Terminal Value Multiple
                                                                                  5x            10x                15x
                                                                 $67              91%          107%               119%
                                                     FIL USD




                                                                 $100            110%          127%               139%
                                                                 $150            132%          149%               162%
* Six-month average FIL price USD 67 assuming terminal value (“TV”) multiple of 10x
** Current FIL price USD 150 assuming terminal value (“TV”) multiple of 10x
                                                                                                                                                               9
